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                                                              USDC SDNY
                                                              DOCUMENT
                                                              ELECTRONICALLY FILED
UNITED STATES DISTRICT COURT
                                                              DOC #:
SOUTHERN DISTRICT OF NEW YORK
                                                              DATE FILED: 9/25/2020
 HECTOR SANTILLAN,
                                Movant,                         20-CV-7846 (MKV)

                    -against-                                   13-CR-0138 (MKV)
 UNITED STATES OF AMERICA,                           ORDER TO ANSWER, 28 U.S.C. § 2255
                                Respondent.

MARY KAY VYSKOCIL, United States District Judge:

       The Court, having concluded that the motion brought under 28 U.S.C. § 2255 should not

be summarily dismissed as being without merit, hereby ORDERS that:

       The Clerk of Court shall electronically notify the Criminal Division of the U.S.

Attorney’s Office for the Southern District of New York that this order has been issued.

       Within sixty days of the date of this order, the U.S. Attorney’s Office shall file an answer

or other pleadings in response to the motion. Movant shall have thirty days from the date on

which Movant is served with Respondent’s answer to file a response. Absent further order, the

motion will be considered fully submitted as of that date.

       All further papers filed or submitted for filing must include the criminal docket number

and will be docketed in the criminal case.

SO ORDERED.

 Dated:    September 25, 2020
           New York, New York

                                                             MARY KAY VYSKOCIL
                                                             United States District Judge
